           Case: 22-1780 Document:
Case 1:21-cv-12837-NGE-PTM ECF No.51    Filed: 05/24/2024
                                   43, PageID.572            Page: 1 Page 1 of 1
                                                     Filed 05/24/24

                  Supreme Court of the United States
                         Office of the Clerk
                     Washington, DC 20543-0001
                                                                  Scott S. Harris
                                                                  Clerk of the Court
                                                                  (202) 479-3011
                                     May 21, 2024


Clerk
United States Court of Appeals for the Sixth Circuit
540 Potter Stewart U.S. Courthouse
100 East Fifth Street                                                       FILED
Cincinnati, OH 45202-3988                                                May 24, 2024
                                                                 KELLY L. STEPHENS, Clerk

      Re: Rachael Eubanks, et al.
          v. Dennis O'Connor
          No. 23-1227
          (Your No. 22-1780)


Dear Clerk:

      The petition for a writ of certiorari in the above entitled case was filed on May
17, 2024 and placed on the docket May 21, 2024 as No. 23-1227.




                                        Sincerely,

                                        Scott S. Harris, Clerk

                                        by

                                        Sara Simmons
                                        Case Analyst
